

S.P. v M.P. (2022 NY Slip Op 04513)





S.P. v M.P.


2022 NY Slip Op 04513


Decided on July 8, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 8, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CENTRA, PERADOTTO, CURRAN, AND WINSLOW, JJ.


575 CA 22-00200

[*1]S.P., PLAINTIFF-APPELLANT,
vM.P., DEFENDANT-RESPONDENT. 






S.P., PLAINTIFF-APPELLANT PRO SE.
VERA A. VENKOVA, BUFFALO, ATTORNEY FOR THE CHILDREN.


	Appeal from an order of the Supreme Court, Niagara County (Frank A. Sedita, III, J.), entered January 5, 2022. The order, inter alia, precluded plaintiff from filing any new application without leave of court or approval of an attorney. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Memorandum: Plaintiff mother appeals from an order that effectively denied her requests for various relief and precluded her from filing any new application for legal relief without leave of court or approval of an attorney. Contrary to the mother's contention, her requests for relief were all without merit, and Supreme Court did not abuse its discretion in placing restrictions on future filings. Although "[p]ublic policy mandates free access to the courts . . . , a party may forfeit that right if she or he abuses the judicial process by engaging in meritless litigation motivated by spite or ill will" (Ritchie v Ritchie, 184 AD3d 1113, 1117 [4th Dept 2020] [internal quotation marks omitted]; see Cangro v Marangos, 160 AD3d 580, 580 [1st Dept 2018], appeal dismissed 32 NY3d 947 [2018]; Matter of Pavic v Djokic, 152 AD3d 696, 697 [2d Dept 2017]). The mother has made multiple motions for various relief, many of which are repetitive, and each motion is accompanied by voluminous and mostly irrelevant exhibits. When her requests for relief are denied, the mother ignores the court's ruling and continues making the same meritless arguments. Moreover, the mother is sending copies of her papers, which contain sensitive issues, to people who have no involvement at all in the case. We thus agree with the court that the mother " 'has abused the judicial process by engaging in meritless, frivolous or vexatious litigation' " (Ritchie, 184 AD3d at 1118; see
Matter of Pignataro v Davis, 8 AD3d 487, 489 [2d Dept 2004]).
Entered: July 8, 2022
Ann Dillon Flynn
Clerk of the Court








